                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                              DOCKET NO. 3:95-CR-178-FDW-9


 UNITED STATES OF AMERICA                        )
                                                 )
           vs.                                   )
                                                 )                    ORDER
 LONNIE DEWAYNE ROBINSON,                        )
                                                 )
                 Defendant.                      )
                                                 )

       THIS MATTER comes now before the Court on remand from the United States Court of

Appeals for the Fourth Circuit. In accordance with the circuit court’s opinion, the Clerk is

DIRECTED to reassign this case to a non-conflicted district judge for restenencing.1

       IT IS SO ORDERED.

                                                Signed: April 1, 2009




       1
         The Fourth Circuit vacated this Court’s original sentence after it was discovered that the
undersigned was involved in Defendant’s original sentencing hearing as an Assistant United
States Attorney. The Fourth Circuit panel opined that this violation of 28 U.S.C. § 455(b)(3) was
“unwitting,” there being “no evidence to suggest that [the undersigned] recalled his participation
in Robinson’s original sentencing proceeding, nor did anyone bring it to his attention . . . .”
(Slip. Op. at 17.) The undersigned wishes to confirm the circuit court’s opinion on this matter,
noting that a conflict check is performed in every case and that the undersigned was neither
counsel of record nor aware of his involvement in this Defendant’s case, but could have become
involved in this matter as the duty attorney on the day of Defendant’s original sentencing.


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